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 Attorneys for Plaintiffs
 Axsome Therapeutics, Inc. and
 Antecip Bioventures II LLC


                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


 AXSOME THERAPEUTICS, INC. and
 ANTECIP BIOVENTURES II LLC,
                                                   Civil Action No. 23-1695 (MEF)(LDW)
                      Plaintiffs

 v.
                                                   (Filed Electronically)
 TEVA PHARMACEUTICALS, INC.,

                      Defendant.



                                   CERTIFICATE OF SERVICE

 ALEXANDER L. CALLO, hereby certifies:

        1.     I am an attorney-at-law of the State of New Jersey and an associate at the law firm

 of Saul Ewing LLP, counsel for Plaintiffs Axsome Therapeutics, Inc. and Antecip Bioventures II

 LLC in the above-captioned matter.

        2.     On June 20, 2023, true and correct copies of (1) Axsome Therapeutics, Inc. and

 Antecip Bioventures II LLC’s Answer to Teva Pharmaceuticals, Inc.’s Counterclaims; and (2)
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 Certificate of Service were filed electronically with the Court, and copies of same were sent via

 e-mail to the following counsel:

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        3.      I hereby certify that the foregoing statements made by me are true. I am aware

 that if any of the foregoing statements made by me are willfully false, I am subject to

 punishment.

 Dated: June 20, 2023                                  By: ________________________
                                                            Alexander L. Callo




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